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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7     GEORGE JARVIS AUSTIN,                           Case No. 21-cv-09076-SI
                                   8                   Plaintiff,
                                                                                         JUDGMENT
                                   9             v.

                                  10     ABC LEGAL,
                                  11                   Defendant.

                                  12
Northern District of California
 United States District Court




                                  13          On May 31, 2022, the Court granted defendant’s motion to dismiss plaintiff’s third amended

                                  14   complaint with prejudice. Dkt. No. 88. Judgment against plaintiff and in favor of defendant is

                                  15   entered accordingly.

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                                  17          IT IS SO ORDERED AND ADJUDGED.

                                  18   Dated: May 31, 2022

                                  19                                                 ______________________________________
                                                                                     SUSAN ILLSTON
                                  20                                                 United States District Judge
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